                                                                                                       FILED
                                                                                                    DEC 2 7 2ll18
                                                                                                PETER A. MOORE1 ~R., CLERK
                            IN THE UNITED STATES DISTRJCT COURT                                  US DIST'l%~uRT, EDNC
                                                                                               BY                   DEPCLK
                        FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                        'VESTERN DIVISION
                                 Civil Action No.: 5:18-cv-00484-BO


EPIC GAMES, INC.,                           )
                                            )
Plaintiff,                                  )
                                            )
v.                                          )                   DEFENDANT'S RESPONSE TO
                                            )                   PLAINTIFF'S OBJECTION TO
BRANDON LUCAS and COLTON.                   )                   DEFENDANT'S MOTION TO
CONTER,                                     )                   DISMISS
                                            )
Defendants,                                 )


                                                ...   ·. .


                             Brandon.Liic~s he~eby file~ a ~espo~s~ to naintiff's response to his mot~on to
                                                                 0



             The Defendant

dismiss the complaint The Defendant, Brandon Lucas, will rely on the affidavit submitted.


This the 19th day of December, 2018

                                                              BRANDON LUCAS., pro sc
                                                                           \


                                                             i2>rcv1-J·,rr~]'uco..~~--
                                                                Brandon Lucas
                                                                 l 1211 South Military Trail
                                                                Apt. #5021
                                                                Boynton Beach, FL 33436
                                                             .. juniorolynipicgold@gmail.com

                                                              De.fendant, pro ·se




                                                                                        ·_,!




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                                                                      SWORN AFFIDAVIT



         1. I have read the Federal Rule of Civil Procedure 7(b)(l)(B) and believe that I have
            complied with the requirements set forth. My motion is in writing, and states my
            reasons for seeking an order of dismissal.         ·                                  .
         2. The Plaintiff clearly did · not conduct enough due diligence to determine the
            responsible party and it is not my obligation to reveal that inf9rmation.
         3. I reviewed the Local Civil Rule 7.l(b)(l) as cited by Plaintiffs counsel and find that
            there is no (1) after the (b) in the local rules, therefore no m~moranda is required.
         4. I have reviewed the case of Pettiford v. City of Greensboro, 556 F. Supp. 2d 512; 517
            (M.D.N.C. 2008). That matter involved a criminal case and this is a· civil matter. It is
            my position that I am not obligated to direct Plaintiffs counsel to the correct
            defendant. It is Plaintiff's responsibility to name the accurate party before filing this
            litigation.
         5. In my previous affidavit I stated that I do not own the YouTube channel where the
            advertisements were posted, nor do I own the videos-posted.         ·
         6. The statements made by me in the counter-notification in response to Epic's
            copyright takedown notice, were only as an individual when YouTube requested my
            legal first and last name instead of a company name on that counter notification..




                                             19,2018



                                 NINA GOLDSTEIN
                                                    ot
                          Notary Public - Stal& Florida .
  _               •'= Commisslon#FF942261
  \.~
     __            ~":.i My Comm. Expires Apr 3, '2020
   '••:f.Hr.~.;?.'t•'' · ~· ·· ., · '"'n"~" 'Jotional Notary Assn .
....,.          ..... .,. .--·
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